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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
No. 19-CR-561 (LAP)

-against-
No. 11-CV-691 (LAK)

STEVEN DONZIGER, ORDER

Defendant.

 

 

LORETTA A, PRESKA, Senior United States District Judge:

The Court is in receipt of Defendant Steven Donziger’s
recently filed motion for reconsideration and motion to dismiss.
(See dkt. no. 274.) Counsel shall confer and propose a briefing
schedule for the motion no later than April 30 at 6:00 p.m.

Moreover, in his opposition to the Special Prosecutors’
motion in limine, Mr. Donziger indicated that, “{b]Jefore or
during trial,” he would “present a trial brief outlining his
view of the collateral bar doctrine and how it does and does not
apply to the facts of his case.” (Dkt. no. 110 at 10.) To the
extent Mr. Donziger wishes to file such a brief, counsel shall
inform the Court no later than May 3 at noon when such briefing
will be filed.

SO ORDERED.

Dated: April 30, 2021
. New York, New York

LORETTA A. PRESKA
Senior United States District Judge

 

 
